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ATTORNEY FOR DEBTOR

              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
IN RE:                           §
                                 §
JAVIER GARCIA                    § CASE NO. 24-30008-JPN-13
                                 §
Debtors                          § CHAPTER 13
                                 §

     MOTION FOR EXTENSION OF TIME TO FILE CHAPTER 13 SCHEDULES,
             STATEMENT OF AFFAIRS AND CHAPTER 13 PLAN

TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW Debtor, Javier Garcia requests an order extending the deadlines to file

Chapter 13 Schedules, Statement of Affairs, Chapter 13 Plan, and new case deficiencies pursuant

to L.B.R. 1007.1(a) and F.R.B.P 3015 and would show the Court as follows:

1.     This Court has jurisdiction over this matter pursuant to 11 U.S.C. §105 and 28 U.S.C.

       §1334. This matter constitutes a core proceeding pursuant to 28 U.S.C. §157(b).

2.     Debtor filed his petition in bankruptcy under Chapter 24-30008-JPN-13 on 01/01/2024


3.     Chapter 13 Schedules, Statement of Affairs, and Chapter 13 Plan are due 1/16/2024.

4.     Debtor will need an additional fourteen (14) days, until 1/30/2024, to prepare the

       Schedules, Statement of Affairs, Chapter 13 Plan, and new case deficiencies because of the

       need to gather information. Debtor's other obligations have resulted in a delay in providing
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       his Attorney information necessary to produce accurate Chapter13 Schedules, Statement

       of Affairs, Chapter 13 Plan, and new case deficiencies.


       WHEREFORE, PREMISES CONSIDERED, Debtor Javier Garcia respectfully requests

the Court to grant an extension of fourteen (14) days, until 1/30/2024, for Debtor to file his Chapter

13 Schedules, Statement of Affairs, Chapter 13 Plan, and new case deficiencies and for such other

relief the Court may grant.


Dated: January 16, 2024

                                                              Respectfully Submitted,

                                                              LEE LAW FIRM, PLLC

                                                              By: /s/Christopher M Lee
                                                              Christopher M. Lee
                                                              State Bar No. 24041319
                                                              Eric A. Maskell
                                                              State Bar No. 24041409
                                                              Jim Morrison
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 16, 2024 a true and correct copy of the
foregoing was served on all parties in interest below and on the attached mailing matrix.

DEBTOR:
Javier Garcia

5442 Baslow Drive
Katy, TX 77449

STANDING CHAPTER 13 TRUSTEE:
Tiffany Castro
9821 Katy Freeway Ste 590
Houston, TX 77024-1294

U.S. TRUSTEE
US Trustee
515 Rusk Ave. Ste 3516
Houston, TX 77002

                                                           By: /s/ Christopher M. Lee
                                                           Christopher M. Lee
                                                           State Bar No. 24041319



                                                           ATTORNEY FOR DEBTOR
